
Allen, P.
delivered the judgment of the court: The argument as well of the attorney general in support of said rule, as of the counsel who appeared for the plaintiff in error in opposition thereto, having been maturely considered, and it appearing that said *678plaintiff in error has since the judgment of convic^on reaped from custody and is still at large, it is by the court that so much of the order awarding the writ of error in this case as directed it to operate as a supersedeas to the judgment of conviction in the petition set forth, be discharged; and it is further ordered, that said writ of error be dismissed on the first day of May next, unless it shall be made to appear to this court, on or before the day last aforesaid, that said plaintiff in error is in custody of the proper officer of the law.
Ordered, that a copy of this order be certified to the Circuit court of Culpeper county.
